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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
                               CIVIL MINUTES—
                                   GENERAL

 Case No.      5:23-cv-01056-SSS-KKx                          Date October 16, 2023
 Title   Dennis Cooper v. Rosalinda Hill, et al.



 Present: The Honorable        SUNSHINE S. SYKES, UNITED STATES DISTRICT JUDGE


               Irene Vazquez                                   Not Reported
                Deputy Clerk                                   Court Reporter


    Attorney(s) Present for Plaintiff(s):           Attorney(s) Present for Defendant(s):
                None Present                                   None Present

 Proceedings: (IN CHAMBERS) Order to Show Cause re Dismissal for
              Lack of Prosecution
       Generally, each Defendant must answer or otherwise respond to the
complaint within 21 days after service (60 days if the Defendant is the United
States). Fed. R. Civ. Proc. 12(a)(1).

       In the present case, it appears that Plaintiff served the summons and
complaint on one or more Defendants more than 21 days ago (60 days if the
Defendant is the United States), but such Defendant(s) did not file an answer or
otherwise respond to the complaint. Accordingly, the Court, on its own motion,
hereby orders Plaintiff to show cause in writing on or before October 30, 2023,
why this action should not be dismissed, with respect to each Defendant who has
not filed an answer or otherwise responded to the complaint. Pursuant to Rule 78
of the Federal Rules of Civil Procedure, the court finds that this matter is
appropriate for submission without oral argument. This Order to Show Cause will
be discharged if Plaintiff files, before the deadline set forth above, a request for the
entry of default with respect to the applicable Defendant(s).
Fed. R. Civ. Proc. 55(a).

         IT IS SO ORDERED.


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